     Case 2:12-cv-00117-JRG Document 9 Filed 06/14/12 Page 1 of 2 PageID #: 54



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

NOVELPOINT SECURITY LLC,

                            Plaintiff,                 Case No. 2:12-cv-117
v.
                                                       PATENT CASE
ORACLE CORPORATION,
                                                       JURY TRIAL DEMANDED
                             Defendant.

                         AGREED MOTION TO DISMISS WITH
                       PREJUDICE, PURSUANT TO SETTLEMENT

        Pursuant to Fed. R. Civ. P. 41 and pursuant to a settlement agreement between the

parties, Plaintiff NovelPoint Security LLC (“NovelPoint”) hereby moves to dismiss with

prejudice NovelPoint’s claims against Defendant Oracle Corporation in this case, with each party

to bear its own costs, expenses and attorneys’ fees.



Dated: June 14, 2012                          Respectfully submitted,


                                               _/s/ Craig Tadlock         ______
                                              Craig Tadlock
                                              State Bar No. 00791766
                                              Keith Smiley
                                              State Bar No. 24067869
                                              TADLOCK LAW FIRM PLLC
                                              2701 Dallas Parkway, Suite 360
                                              Plano, Texas 75093
                                              214-785-6014
                                              craig@tadlocklawfirm.com
                                              keith@tadlocklawfirm.com

                                              Attorneys for Plaintiff NovelPoint Security LLC
  Case 2:12-cv-00117-JRG Document 9 Filed 06/14/12 Page 2 of 2 PageID #: 55



                           CERTIFICATE OF CONFERENCE

       I hereby certify that on June 13, 2012, I conferred by email with in-house counsel for
Defendant Oracle Corporation, Deborah Miller, Oracle Corporation, 500 Oracle Parkway
MS5op764, Redwood Shores, CA 94065, phone 650-506-5200. Counsel for Oracle and I agreed
to the form and substance of this motion and all relief requested therein. Accordingly, this
motion is an agreed motion.


                                           /s/ Craig Tadlock
                                           Craig Tadlock




                              CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, on this the 14th day of June, 2012, the foregoing
document was filed electronically in compliance with Local Rule CV-5(a). As such, this
document was served on all counsel who have consented to electronic service. Local Rule CV-
5(a)(3)(A).

                                           /s/ Craig Tadlock
                                           Craig Tadlock




                                              2
